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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

IBOY SCOUTS OF AMERICA AND|Case No. 20-10343 (LSS)
IDELAWARE BSA, LLC,
(Jointly Administered)
Debtors.

Re: Docket Nos. 12133, 12134

NOTICE OF WITHDRAWAL OF MOTION FOR BREACH
OF FIDUCIARY DUTY AND DECLARATORY RELIEF

PLEASE TAKE NOTICE that J.S., in his individual
capacity, hereby withdraws the Motion for Breach of Fiduciary
Duty and Declaratory Relief [D.1. 12133, 12134] in the above-

captioned cases.

Dated: July “J 2024

